JPML FORM 1A
DOCKET ENTRIES
JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

DOCKET NO. 577 -- In re The Goodyear Tire & Rubber Company, St. Louis

 

District, Employment Practices Litigation

 

 

pate | Ret, | Description
LRT GSN Tt MSR . eee ae eee

 

 

 

83/11/29 1 MOTION, BRIEF, SCHEDULE (A-1 - A-3), FXHIRITS A-C, CFRT, OF

SERVICE -- Defendant The Goodyear Tire & Rubher Co. --
SUGGESTED TRANSFEREE DISTRICT: S.D. ILLINOIS (cds)

83/12/09 APPEARANCES -- Virginia M. O'Leary for Paula Kuenz and
Lyn Eichenseer; Mary Anne Sedey for Jo Ellen Albrecht;
John J. Gazzoli for Goodyear Tire & Rubber Co.;

Robert G. Johnson for Equal Employment Opportunity Comm.
(not included) (emh)

83/12/19 |]HEARING ORDER -- Setting motion of defendant The Goodyear
Tire & Tubber Co., for Panel hearing on January 26, 1984,
in Atlanta, Georgia. (ds)

83/12/21 RESPONSE -- pitf. Ellen Albrecht w/cert. of sve. (ds)
83/12/23 RESPONSE -- Plaintiffs Kuenz and Fichenseer ~-- w/sve. (jsj)

B3/12/27 REPLY -- Deft. The Goodyear Tire & Rubber Company -- w/cert.
of sve. (jsj)

84/01/25 REQUEST FOR POSTPONEMENT OF HEARING (Scheduled for 1/26/84)
~- Goodyear Tire & Rubber Co. -- w/sve. (emh)

84/01/25 ORDER VACATING JANUARY 26, 1984 HEARING pursuant to 28
U.S.C. §1407. (emh)

84/01/26 HEARING APPEARANCES: JOHN J. GAZZOLI, JR., ESQ. for The
Goodyear Tire & Rubber Co.; MARY ANN SEDEY, ESQ. for Jo
Ellen Albrecht; VIRGINIA M. O'LEARY, ESQ. for Paula Kuenz,
et al.; and Lyn Eichenseer, et al. (cds)

84/02/24 HEARING ORDER -- Setting motion of deft. The Goodyear Tire
& Rubber Co. to transfer actions to S.D. Illinois --
in Birmingham, Alabama on March 29, 1984 (emh)

BY /03/22 ORDER DENYING MOTION AS MOOT AND VACATING HEARING ORDER --
Notified involved judges, clerks, and counsel (cds)

84/03/23 LETTER/WITHDRAWING MOTION (advising Panel of transfer of A-1l
to E.D. Missouri under Section 1404(a) -- Goodyear Tire &
Rubber Co. -- w/sve. (emh)

 

 

 
JPML Form 1
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Revised: 8/78

DOCKET NO. 577 -- JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

CAPTION: In Re The Goodyear Tire & Rubber Company, St. Louis District, Employment Practices Litigation

 

 

SUMMARY OF LITIGATION

 

Hearing Dates Orders

Trans feree

 

Dates Filed Type Citation District Name of Judge Assigned From

 

 

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A220 y Ji

 

 

Special Transferee Information

DATE CLOSED:

 
JPML FORM 1

LISTING OF INVOLVED ACTIONS

DOCKET NO. 577 -- In re THE GOODYEAR TIRE: & RUBBER COMPANY, ST. LOUIS DISTRICT, EMPLOYMENT

 

PRACTICES LITIGATION

 

Intra~
Office
Number

Caption

District
and
Judge

Civil
Action
Number

Transfer
Date

Docket
Number

Transfereeabdate of

Dismissal
or Remand

 

A-1

 

Lyn Eichenseer, et al. v. The
Goodyear Tire & Rubber Co.

Paula Kuenz, et al. v. The Goodyear
Tire & Rubber Co.

Jo Ellen Albrecht v. Goodyear Tire
Tire and Rubber Co. of Akron Ohio

p.-D.I1l.
Foreman

£.D.Mo.
Hungate

E.D.Mo.
Limbaugh

 

 

83-3051

83-1469-C (J

83-2286-C (4

 

 

 

 

 
 

JPML Form 4

 

ATTORNEY SERVICE LIST
JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

DOCKET NO. 577 --

In re The Goodyear Tire & Rubber Company, St. Louis

District, Employment Practices Litigation

 

 

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Intervenor-plaintiff in A-2

EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
Robert G. Johnson, Esquire

Senior Trial Attorney

Equal Employment Opportunity Commission
St. Louis District Office

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GOODYEAR TIRE & RUBBER COMPANY

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St. Louis, Missouri 63101

 
 

JPML FORM 3

COMMON PARTY CHECKLIST -- JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

DOCKET NO. 577 -- In re The Goodyear Tire & Rubber Company, St. Louis District,

Name of Par

Goodyear Tire & Rubber
Co.

Goodyear Tire & Rubber
Co. of Akron, Ohio

 

Named as Par

p.

in Following Actions

 
